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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


  STEVEN STENTZ,

        Plaintiff,

  v.                                          CASE NO. 8:23-cv-1321-SDM-AEP

  CITY OF DUNEDIN,

        Defendant.
  ___________________________________/


                                      ORDER

        The defendant moves (Doc. 8) unopposed to extend by thirty days the time

  within which to respond to the complaint. The motion (Doc. 8) is GRANTED. The

  defendant must respond to the complaint not later than SEPTEMBER 7, 2023.

        ORDERED in Tampa, Florida, on August 4, 2023.
